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                     UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                      RIO DIVISION
                                  DEL RIO

United States of America                         §
                                                 §
vs.                                              §   Case Number: DR:22-M -00609(1)
                                                 §
 1 Abdul-Rahman Umar                             §
  Defendant

                                           ORDER


           On motion of the United States Government requesting detention of the Defendant,
(1) Abdul-Rahman Umar, a hearing was set for April 6, 2022.

            Jaime Zampierollo was appointed to represent the defendant. On April 5, 2022, the
attorney for the defendant filed a Waiver of Preliminary and Detention Hearing signed by the
attorney, and the defendant waiving the hearings and the right to contest the Government's
motion,

           THEREFORE, pursuant to this waiver, it is ordered that the defendant be detained
without bond until the completion of this case.

           SIGNED this 6th day of April, 2022.




                                                 Collis White
                                                 UNITED STATES MAGISTRATE JUDGE
